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       a


                                                     A


                 After Recording Retwu To:
                 COUNTRYWIDE HOME LOANS, DIC .
                 MS SV-79 DOCUM!:NT PROCBSSING
                 P.O.Box 10423
                 Van Nuys, CA 91410- 0423
                                                                                      Redacted
                                                             MORTGAGE
                                                                                                   Redacted




                 DEPINITIONS
                 Words used in multiple scctiom of this dooume.ot nro d efined below 11Dd other wo.tds cu-o dofinod i.u Sootio.us 3,
                 11, 13, 18, 20 and 21. Certain iules regarding the usage of words weed in this document am nlKo provided in
                 Sectio.n 16.                                     ·
                 (A) "Security IDstrwnent" means this do<:WD.ollt, which is dated DECEMBER 22 , 2bOG               ,together
                 with all Riders to this document.
                 (B} "Borrower.. 11;
                 MANI)y M JONES




                 Bol"(Ower is tho niort&Qaor under this Security l'n31ntmeut.
                 (C) "MERS" is Monsago Blectronio R.e15i:skaLion S;)'lfleU:Jlt1 Ino. MER.S is ,. sep...... to ooxpon.tio11. lhlst ia
                 acting solely as a nominee for Lendor and Lender's successors and a88ti:ns. MERS Js the Morti:acee under
                 this SccW'ity l.u11trumcnt. MER.S i11 orgonizcd und oxisting under tho laws of Delaware, and hos on address
                 and telephone number o fJ.>.O. Dolt 2026, Pllnt, MI 48!101 -2026, tel. (888) 679-MERS.
                 (D) "Lender" is
                 A"ll!'.RXCA'S WHOLESALE LBNOBR
                 Lender is a CORPORATJ:ON
                 oraanizcd and cxistina under th1> laws of m;:w '¥ORK
                 Lender'K nddrea i:i
                 4 500 Pax-k GX'an<ic::la MSN# SVB-.3 14 , Ca1abasas, CA                ~ 1 302-1613


                 INOIANA·Slngle Femlly.PeMle Mat/Frtcld'• M4o UNIFORM INSTRUMENT WITH MERS
                                                                     P911G 1Of11
                 ~-OA(IN)(OCI04)        Ct11.. (MIOCl)(d)                                                           Form 3 015 1/01




                 Redacted
                 Redacted                                               Redacted
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                                                                                DOC ID                           .               Redacted
                 (E)  "Noto" means the promf66ory note signed by Boll'Ower and dated DEC : ·                         :   .   ·        •• •       t~

                 Note state~ that Borrower owes Lender
                 FORTY THOUSAND and 00/100
                 Note s!Dtes that Borrower owes Lender
                 FORTY 'l'HOUSANP all~ 00/100

                 DolllUS (\.T.S. S 40, ooo. oo          ) plus interest. Borrower has promised to pay thi$ debt in regulat'
                 Periodic Payments and topa;y tbc debt in full not later than JANrJARY 01, 2037
                 (li') "Property" means the property that: is described below under the heading ''Trapsfer of Rights in the
                 Property."
                 (G) "Loan" means Che debt evidenced by the Note, plus interest, any prepayment charges and late charges
                 due Wlder the Note, and all sums due under this Securlty Instrument, plus inten15t.
                 (B) "Ridc1-s" mOIWS all Riders to th.is s~mity Instrument that arc exoeuto4 by Borrower. The f°oUowing
                 Riders a.re to be <>Xecutcd by Borrower [check box as applicable):

                    D
                    D
                        Aclj'UStoble R.11te Rider
                        Balloon Rider
                                                       B     Condominium Rider
                                                             Pl111111~ Unit Development Rider
                                                                                                     §    Second Rome R.ider
                                                                                                          1-4 Family Rider
                    D   VA Rider                       D     Biweekly Payment Rider                       Othcr(a) [specify)

                 (l)   "Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
                 orclin.aaces Bild administrative rul~ and orders (that have the effi:ot ot'law) as well ns all applicable final,
                  nou-appcaloblc judichll opinioll8.
                 (.J) 11Com1nuuity Ass<1ciatio11 Duos, Feos, nnd Assessments" means all dues, fees, assessments and other
                 chtlrges thnt are imposed on Bozroww or tho Property by a condominium association, homeowners 88soc!ation
                 or similar organization.
                 (K) "Electronic F°"'d11 TnanRrer" means any transfer of ibnds. other thiui A tro.o.sAotion originated by check.
                 draft, or similar paper instrument, which is initiated through llll electronic terminal, telephouio iustrumei1t,
                 compllter, or m11~etic lllpe so os to order, instruct, or authorize a fltumcJal institution to debit or credit an
                 account. Such term include1:, 'but i; not limited to, point-oft.sale ttansfeni, automated teller machin1>
                 transactions, transfers initiated by telephone, wile transfers, and automated clearinghouse transfers.
                 (L) "Escrow Items" meaJ1$ those items thut lll"U described in Section 3.
                 ~ "l.v.DsceUancous Proceeds" means miy compc.nsation, settloment, award of damages, or proceeds paid by
                 any third pa.rty (other than insurance> proceeds paid under the coverages descnbed In Section S) tbr: (i) damage
                 to, or dostruetlon of, Che Property; (ii) condemnation or other taking of all or any part of tho Property; (iii)
                 <!onveyance In lieu of eondem.nation; or (iv) misreprescntati.onOJ of, or omi&~ioua es to, the valuo and/or
                 condition of the Property.
                 (N) ''Mor~ugc Iu1111r1U1ee" meat1s insurftllce pi-oteoting Lender against the nonpayment of, or detault on, the
                 Loan.         .
                 (0) "Periodic Payment" mean& the regularly scheduled amount due for (i) principal and interest Ul1der the
                 Note, plus {il") any amounts under Seotion 3 of this ·Seourity lnslrlllllent.
                 (l') "RESPA" means tho Real Estato Settlement Procedures Act (12 U.S.C. Section 2601 ct seq.) and Its
                 implem.enti.D.g regulation, Regulation X (24 C.F .R. Part 3500); as they might be amended from time to time. or
                 any additional or euccesgor legislation or regulation that governs the same subject matter. As used in tbi.s
                 Security lnatrwnc.ot, "RESPA" refers to all requirements end restriotioJUll that aro i.mp~d :la rognl'd to a
                 "fcderelly related mortgage 101111" eveu.         jf   tho Loan does not qualify as a "federally related mortgage> Joan"
                 wider R.BSPA.
                 (Q) "Su~essor in Interest of' Borrower" moans any party that has taken title to the Property, whether or
                 not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.
                 TRANSFER OF RIGHTS IN THE PROPERTY
                 This Security In9tnunent secul'es to Limder: (i) the re_p11yment of the Loan. and all renewals, extensions and
                 modifications of the Note; and (ii) th.e performance of Borrowi:ir"s covenants and ag.ceemeiits under this
                 Security lmstn.un.,nt and the Note. Foe this pw:po~, BoLrower docs horoby mortpgc, grant and convey to
                 MERS (solely os nominee -for Lender and Lender's successors and assigns) and to the successors and assiens
                 ofMER.S, the following desoribod property located in the
                                         COUNTY                                  ot                       HUNTINGTON
                              (Typo of"lteoording J~ri0<liolion]                                    [N"mo ofReeoJd[pa JurisdlctlonJ
                 SEE EXHI:El:CT "A" ATTACHED HIERll:TO JU\ID MADE A PART HEREOF .




                 ~ ·6A(IN) (0604)            CHL (04/08)                      Pago 2. of 11                                         Form 3016 1/01
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           •                                                                               I 2006007529                          Pl\ge 3 o'f 12



                                                                                               DOC ID
                      Parcel ID Number: 3505141.00247 300005
                                                  154 l SJU3J:?m ST.R.SET,
                                                                     rsucct/Clcvl
                                                      15oQ.l SABJ:N5 STRSET,           HUN'l'l:NGTON
                                                                     [Sttcct/CllY)
                      Indiana   -66750        ("Proporty Adarcsa"):
                                ~pCodc)


                        TOGEIHER. WITH all lhe inlprovemonts now or herentter erected on the .Property. and all eas<mlent1:,
                  appurtenances, and fixture.a now.or hereafter a part of the property. All repla:ements and additioll8 shall also
                  bo covorcd by th1s 3ccuricy l'.l:lsl:rWllent. All of the fQrogoi.ng fl referred 10 In this Security in.tromeot n tho
                  "Properfy." Borrower undenit.and.t and agrees that M]iRS hold» only logAl titlo to \ho iAtcrosta ar-led by
                  Borrower In this Security Iostrument, but. if necessary to comply with law or custom, MERS (u nominoo for
                  Lender nnd Lc:ndcr'e eucceasors 1111d QSSisns) hos the riaht: to Clteroiso cny oz oil of thoso interests, includiog.
                  but not limited to, tho right to foreeloeo and sell tho l'ropeny; and to take any action reqwrcd or Lender
                  inol11ding, but not limited to, rolcosing end conceling this Scourity Instrument.
                        BORROWER COVISN'ANTS thot Borrower is lawfully sciscd of the estate hereby conveyed cnll bus lhc
                  right to mortgago, gnint and convey the Property Olld that the Proporty is unencumbet"ed, except for
                  enoumbrunce11 of reoord. Borrower worronts mid will' d11fc11d acncrolly tb" titl1t to tb1t Prop.,rly ago..i.net <Ill
                  claims and dein1111ds, subject to nny enc\lmbrances of record.
                        -:r:HIS SECURlTY INSTRUMENT oombilles uniform OOVellOll.UI for DliUOJlOI use oud llOJMWifonn
                  covcn.a nta with limited variations by jurisdiction to coMtituto a uni(onn security U:i..•tn.wcut eovoJina J'CGI
                  property.

                          lJNII'ORM COVI3NANTS. Douowor and Lendor covenant and agMe as f'ollows:
                          1. Payment of Pr1nclpnl, lntcrcst. Escrow Itciue, Prcpo)llllcnt Ctuircies, ancl Late Choraea. Bo.rrower
                   shall pay when. due the principal of, and interest on, the debt cvldcnced by the Noto and any prepayment
                   charges 8Ild late charges due under lhe Note. Borrower shllll also pay funds for ESorow Itoms pursuant to
                   Section 3. Pa;ymen~ du• under. the Note and this Security ln.strument sh111J be made In U.S. CUITCnC)'.
                   However. if ouy olleok or other instrument received by Lender os payment under the Note or tb.i£ Security
                   lnt':trument is returned to Lender unpaid, Lender may require that any or alt subsequf?tJl pnymc.:nU. due under
                   tho Noto ood (his Security Instrumont be made in one or more o!lhe !ollowblg :tOnns, as Gclected by Lender:
                   (Q) cllSh; (b) money order; (c) certified check. bnnlc chock, t.reon1rer'11 oheck or coshie.r'11 choo.k, pr(,vided nny
                   such check l11 drawn upon· an lnRtitutlon whoi:e depo~ltll are insured by a federal agency, ingt:rumcntality, or
                   ontfty; or (d) ElectronJo Funds Transf'oi'.
                          PAyaienta nxo d <:omod Neeived by Lo:o.der whe:o. rec11ived c.t Ibo looati.o:o. dosigoatod l.o. tho Noto or nt 6ueb
                   oth~ locatto11 M may 'be de&igna~d by J'..CAder ln acc~ce wilh the notice promions in Section lS. Lender
                   may return any payment o r panJal payment if tho payment or portial payments are Insufficient to bring the
                   Loan cutTCnl. Lendor may aeocp~ ony p11yment or putiAl p ayment insuffioient to briu3 Ulo Loon eurreo.t,
                  without waiver of any dgbts hereunder or prejud.Jce to tti; rights to ~fuse such payment or partial paymcntA.tn
                   tho iuW?e, but Leader is nqt obligated to Qpply such poymenb Qt 1hc timo suoh payments am c ccoptod. If each
                  l'crtodfc Payment 1B applied os of in scheduled· due dato, thoa Lendllr need not pay intlllrest on unappUed
                   funds. Lender may hold such unopplicd fuuds·unUl Borrower a:u>lcc9 pn;y.me:o.~ to brins '11• Loon a~t. l£
                  Borrower docs not do so within o rcnsonable period of ti.uio, Lender shall either apply such fUDcb or return
                   them to Bom>wer. Ifnot applied earlier, a11ch funda will be applied to the outstD.nd.iug principal balance under
                   tho Noto inunodlotol:r prior to foreclosure. No offilet or olelm which Borrower might have n1>w or in the future
                   ogAin.st Lendor shllll roliovo Borrower from moki.ng pnyments duo Wlder tho Note and thlo Security Instrument
                   or perfonnlne the covcnMU Md agreements secured by tllia Security Instrument.
                          2. Appl.icadon or Payments or Pro.,eeds. Except as otherwise described i.n th.ls Section 2, all payments
                   accepted and applie<i by Lender s hall be applied in tho followina onlCt' of priority: (11) interest duo wider tho
                  Noto; (b) principal duo undor the Note; (e) ameunts d11e undtt Section 3. Such paymcmlK &hall be applicii to
                  cacb Periodic Pa}'Dlcnt in t.bc order in which it txmuJJe due. Azi.y rcmoining amounts shall bo applied first to
                  late eh.arse$, ce<»od to NlY other amounts due undu this Security lllstrument, and then to reduce the principal
                  balance ofthc Note.
                          If Lender nscelvea a payment from Borrower for a delinquent Periodic Payment whiob inoludos n
                  wflicient cunouDt to poy any leto chlll"ge duo, tho payment may bo applied to the dcUnquent paymont and I.be
                   late cbargo. If more then one Periodic Pcymcnt is outstonding, Lendor muy apply aey paym.ont received from
                  .Bortower to tho repayment of the .Periodic Peymonts If, and to the extent that, each pll)'D'lcnt can be paid in
                   full. To the extent thnt any excess exists after the payment Js oppJJod to lhe 1bll payment of <me or more
                  Periodic PaymentA, mch cxc~•" may be ~.PPlicd ts> 411)1 la1.9 ehl\l'a~ ~).SO. Volup~ ptepoymOlltSI •boll be
                   applied first t0 any prcpeymcnt charges ond then as described in the Note.
                          Aey opplicotion of pay.me.uts, .Lnsur4nce .Pl'O~eds, ot MJscolJ4neoua Prooeods to principal due under the
                  'Note llhall not extend or po1tpooo tho due date, or c lui:o.gc: tho umount, of tho Periodlo Poymente.
                          3. Funds for Escrow Items. Bonower shall pay to Lender on the dlly Periodic Payments arc due under
                   lho Note. until the Note is· po.id in full, a sum (the "Funds") to provide for payment of amounts due for: (a)
                  taxes and ~l:l!l!Dlenl., and otbor ie<:mis whi~h ~ a«Dln priority over tbio Swurity Imtni.w.~t aG 11 li~.11 or
                  enownbrence 011 the Property; (b) lca5chold .Payments or e:round rcntrl on the Property. if any; (c) prcmium.i;
                   for any and all insurance requjn:d by Lender u.ndcr Section S; and ( d ) Mortpgc !nalUlWCO premiums, if o.ay, or


                  ~ ·OA(IN) (De04)          ctiL (041P6)                 Pogo 3oft1                                        Fonn 30111 1/01
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                   any sums payable by Borrower to Lender In lieu of the payment of Mongage 1DS1m111ce proauwns in
                   11cconllwce with tho provislom of Section 10. 'lboso items nee called "Escrow ltmns." At origination or at any
                   time durlna the term of tbo Loan. Lender mnv reauirc that Communilv A.ssoolntion Duos, Fees, and
                   11ccordanoe with tho provisions of Section 10. Those items nee called "Escrow Itmn.s." At origination or at any
                   time during the term of the Loan, Lender may reqllirc that CommwiiLy Association Dues, Fees, 8Jld
                   ~C11sment1>, if ony, be escrowed by BoirOwor, and such dues, fees and assessments shall be an Escrow Itom.
                   Borrower llhDll prompUy furnish to Lender ull notices of amounts to be pold undi.r this Section. Borrower shall
                   pay Lender the FUnds for Escrow ltems unle!Ql Lender waives Bonowcr's obligation to p11y tho Fwids (Qr any
                   or all Escrow Items. Lender may waivo Borrower's obligation to pay to Lender Funds for any or all Escrow
                   Items at any time. Any such waiver may only be in writing. Ill the ov6.o.t of such wn.iver, BO.lTOwer shall pay
                   d~otly, when And where payabl~, the amounts due for any Escrow [tcms for which payment 0£ Funda bas
                   been waived by Lender and. if Lendel.· requires. shall furnish to Lendor receipts evidencing such payment
                   within euc:h time period as Lender may require. Borrower's obligation to make wch puyments and to provido
                   reoeiptS sl.ulll for llll pUJPOSCS be deemed tt> b!I a covenant and agrecm.cnt contained in this Security
                   Instrument, as the phnaso "covenant and agreement" is used in Section 9. If Borrowoc is obligntod to pay
                   E~orow Items directly, pursuant to o waiver. ond Borrower fulls to pay the amount due fur an Escrow Item.
                   Lender may exe.n:lse Its rights under Section 9 and pay euch amounL und Boirower shall then bo obligated
                   under Section 9 to repo.y to Lender any such amoUllt. Lender moy revoke the waiver as to any or all Eiicmw
                   Items at any time by A notice givon in accordance with Section lS and. upon such revocation, Borro-wer shall
                   pay to Lender all Funds, and hi such amounts, that f\re then requlred under this Section 3.
                           Lender may, at ncy time, collect ClJld hold Funds in an amount (a) sufficient to pennlt Lender to apply the
                   Funds at tho time specified under RESP.A, wid (b) not lo exceed the 1I111Ximum llJDOunt a lender can require
                   under R.ESPA. Le.ndor shrul e$timo.to tl1o amount of Fund& dull Ol\ tho hula cf CW'Nl\t d4t4 and roosol!Ablo
                   estimates of expenditures of future Escrow Items 01 oth.Mwiso in acoordaoce with Applicable Law.
                           The Funds shall be hold In an Institution whose deposits ll1tl insured by n fcderul ngeocy, .instrumentality,
                   or entity (including Lender, i£ Lender is an insl11Ution wbosc depo&l.ts are so insured) or in a11y Pedemt Home
                   Loan Bank. Lender shall apply the Punds to pny tho Escrow Items uo later tho.a. tho time specified under
                   RESPA. Lender shall not charge Borrower for holding and applyint: the FundR, annually analyzing the escrow
                   account, or vt:rifying the Escrow Items, unless Lender ,Peys Borrower .interest on tho Funds Md Applicable
                   Law perotits Lender to make such a charge. UnleSB an agreement Is made in writing or Appliooblo Luw
                   roquircR intorost to be paid on Uie Fuu<ls, Lender Gball a.ot be required to pay Boirowor A.DY interest or eamlncs
                   on the Funds. Bonowcr and Lender can agree In writing, however, that interest shall be paid on the Funds.
                  Lender shall give to Borrower, without charge, an annual nccounting of the Funds e& req_uited byR.ESPA.
                          If' there Is a sutplus ofJfunds held ln escrow, ll8 defined undcrRESPA, Le11der 11ball o.ccowit io Bonowor
                   for the excess funds i.o. accordance w ith R.ESPA. lf there is a 'hortage of Fund.a held in escrow, nv defined
                   under RESPA, Lender shall notify Borrower as ~quired by RESP.A, Gild BonowOI" shall pay to Leader the
                  11ID0-unt m:1:c:l!sary to make iip Ibo ahorta&o iu llooordanoo with RBSPA. but in no mo~ tb11n 12 monthly
                  paymenlll. lt there is a deficiency of Punds held in c:serow, llS de&od Wlder USP.A, Lender shall notify
                  Borrower a.a required by :R.ESPA, ruid Borrower shall pay to Lender tho amount nece~•IU'Y to make up Ilic
                  deficiency in accordance with RESPA, but in no moro than 12 mouthly payments.
                          Upou payment in full of all sums secured by this Security [nstrumcnt, Londcr she.JI promptly refund to
                  Borrower any Pu.n<l1t h"ld by Lender.
                          4 . Charges; Llerui. Bon-owcr shell pa;y all htxcs, o.sseuments, ohnrges, fines, ond impositions tittributable
                  to tho Property which ca.n attain priority over this Security Instrument. leasehold paymcnllt or ground rents on
                  tho Property, if any, and Community Assooiatio11 Dues, Foes, ond Assessments, lf any. To tho extent that these
                  itoms l\l'C> E~c.-ow It=s, :So.rrowor sholl poy thom ln the manner provided in Scction3.
                          :Bonower 11hoU promptly discharge any lieii wWeh has priority over this Security ln11trumcnt unle:1~
                  Borrower. (a) agn:cs in writing to the payment of the obligation secured by the lic.u in. a manner acceptable to
                  Lendor, bllt only so long as Bolt'Ower Is performing such aerecment; (b) contests the lien in good wth by, or
                  defends against enforcem=t of the tien U,. legal proeeed.ins:o whioh i.Q Le.iidei's opinion operate to prevent the
                  anforcement of the lien while those proceedings arc pending. but only until such proceedings ore oonoluded;
                  or (c) secures trom the holder of the lien Oll ogrccmont sotisfoctozy to Lender subonitnstln~ the lien to this
                  Security lll&uumcnt. If Lender determines tbat any part of tbe Property is subject.to o lien whiob can attain
                  priority over this Security Iwtnuncnt, Lender may g.lvo Borrower a notice Identifying the lien. Within 10 dn)la
                  of the dato on which that no tico is given. B orrowcnlhall sntisfy the lien or Lake one or more of the actions set
                  forth above in this Seotio.11 4.
                          Lender may rcquin; Borrowor to pay. o one·tim., cl.Iorgo 1i>J: a"'"! estate rax verification and/or reporting
                  service tJse~ by Lender jn connection with thi:t Loan.
                          S. Pl'operty Insurance. Borrower shall keep the improvemenbi now existing or hereafter el'80ted on tho
                  Property inauo:<4 Jl&Aillst loss by .fire, hozo~s i.o.oludod within ihe tonn •extended covensgo," and o.n;y othcr
                  hoznrds including, but not limited to, earthquo.koa o.od floods, :for wb.lch Lender h:qulres .fiiilutancc; This
                  .in.s11JU.11ce shall be mai.iatoi.ned in the amounts (including deductible Ievel11) und for tho periods that Lender
                  requires. What Lend~ requircli pursu11nt to the preceding sentence& can chansc during the term of the LoB.11.
                  The f.Jl~urance camcr providing tho insunmee shull bu ohoson by Borrower subjeet 10 Lender's rigbt to
                  dieupptQve Borrower's cholce, which right shall not be exercised unreasonably. Lender may require Borrower
                  to pay, In connection with this Loim, oilbor. (11) G one· t.imo chiugo for tlood zone determination, certification
                  and traoklng servlc:os; or (b) a one-time charge for flood zone determination llnd certification services and



                  q. ·llA(IN) (0804)       CHL(04/06)                  Poge4of11                                       Fotm 3015 1/01
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                  subsequent ohargea each time remapplngs or similar changes occur wblc reaso           y nu t       t euc
                  detonnination or ccnmcatio11. Bom>wcr llhall also bo rcspouible for the payment of any fen impoecd by the
                  FcdCl'lll BmerROO..CV MailoJ:emOAt A.l:=cy in connection with the review of any flood :r.0110 dct~tion
                    determination or certification. Bom>wcr ahall clso be responsible for the payment of any fees imposed by the
                    Federal Emergency Management Agency .In connection with the teView of any flood %0110 dctcrm.i.oo.tion
                    resulting 1iom an objuction by Borrower.
                           If Borrower feiJs to meintsin any of the coverages deJtcribed abo...... Lender may obtuisl lnvuronco
                    covemgo, at Lender's option and Borrower's expense. Lender is under no obligation. to purcbasc any particular
                    type or amount of coverage. TherefO<"O, such coverage shoU cover Lendor, bllt nught or might not protect
                    Bo.rrowor, 8on-ower'• cqlllty I.ti cb.o P«ipeny, or mo contents of tho Property, ae;aln6t any dole, hazard or
                    liability and misht provide sreoter or Ies,,icr ooveroge thon WAC previously in effect. Borrower ac!cnowJedge,11
                    flu1t the cost of the lnsurance covcrago so obtained might signi6cnc1Jy .ixceod tho cost of insut1111cc that
                    Borrower could hnve obtained. Any amounts dlsbunied by Lender und&r th.I$ Section S shall beeomo additional
                    debt ofDonowcr secured by this Security Instrument. The!ic amounl8 shC11t bcnr iulorost cat the Noto rato from
                    lho dato of disbursement nnd shnll be payable, with such interest, upon notice &om Lender to Borrower
                    n1quostillg pay.moot.
                           All insll{'Qllcc polioios required by Lendor aud .renewals of such policies shall be subject to Lendcr'11 right
                    10 disapprove suoh policica, 6hall include a standanl mortgage clause:, ond shall nawo Lo.odor as morti:agee
                    and/or as BU additional 10511 payee. Ledder shall have the right to hold the pe>!lclei: and renewal certificates. If
                    Lender n:quin:s, Borrower Kb.nil promptly give to Lender all rcooipts of pa.id premiums l1.lld renewal notices. If
                    Borrowor obtains ony fomi of iDSW'aDce coverage, not otherwise required by Lender, for domo1i10 to, or
                   de•lructiou of, Uu: Proporty, su"'11 policy shall include 11 stwldard mortgage olause and 6ball name Lender &8
                    mo.rtgAgtti 11nd/or as an additional ]6$~ pAyU.
                          Jn tho 01.1cnt of·loss, Borrower sbnll give p1'(1mpt notloo to tho insurance earner and Lender. Lender may
                    make proof of loss it not made proinpUy by Borrower. Unless Leader ond Bom>wer olherwise agree in
                    wrillng, any iosW'&UCD p rocoods, whether or not tho underlying Josurance was required by Lender, 11lalt be
                   applied to restoration or repair of the Property, i£ tho re9torution or rep11u· ic econolJUcaUy feasible and
                    Lender's security is not lessened. Duriag sucil repair an.d l'C6t0ration period, Lender shall have the right to hold
                   such .insurance proceeds until Lender bas had an opportu.nity to inspect suoh Property to cmuro the work bes
                   been oompteled to Lendar's satisfaction, provided that such inspection 11hall be undc.IUlkcn promptly. Lender
                   mey d.isbunlo procccda for the repUni nnd restoration in a single payment or in• cerlea otprogren paymcms
                   a& the work is completed. Unless an agreement js made in writing or Applicable 1.cw requites interest to be
                   paid on such insw11noe proceeds, Lellder sball .not be roquirod to pay Bonowcr any Interest or eamings on
                   such proceed&. Pou fur public adjusters, or other third purti~, ro!AWccl by Boaowcr shall llOt bo paid out of
                   the h1sutance proceeds and 1:hall be the sole obHgation of :Sorrower. If the rc>1torotion or repllir is not-
                   cconomically feasible or Lcndcr't> security would be lessened, the insurance proceede shall be applied 10 the
                   lNm6 &ocured by tlli6 Sccuri')' Instrument, wb.etber or not then due, with the oxecss, if an,y, paid to Borrower.
                   Such i.o.succ..oco procecda ahall be applied lo Ibo order provided 10r lo Secdou 2 .
                          1£ Bormwor abandon." tho Property, Lender rooy .(ile, neaotfor& end sertle any ovail3ble i.nsumnce claim
                   and reh1ted mattera. If Borrower does not respond within 30 days too notice from Lendor that the inS\Jrnnce
                   carrier has oU"cred to setUe Q oloiln, lhen Lendar .may negolioto and settle the claim. The 30-day period will
                   begin when thD 11.edco io sfven. Ill oither event, or i£ Lender aoquiros the Propony under Sectio11 22 or
                   othc.rwlec, Borrowo.r horcby ossle.no to Lendor (o) Borrowc:t'a riehl4 to MY ht8111'8l)CC proceeds in QD amowit
                   not to oxcccd the e.mounls unpoid undOJ' the Note or this Seou.dty lostrument, and (b) any other ofBorrowct's
                   rlC)lts (otber tban the right to any rcftlnd of' unearned premiums paid by Borrower) under all insurance policies
                   eoverin.R tho Property, i.oso.tiu- 1111 1>uoh risliU aro 11.ppllcable to the eovera13e of the Property, Lendor may we
                   the wu.rance proceeds either to repair or n:storc the Property or to pay 111J1ou11lll unpaid under the Nota or this
                   $i;ourity In.Qtrument, whclher or not th&ll due.
                          6 . Occup .. ncy. BolTQw"'r shall occupy, eat11blieb, iuid ueo tho Ptoperty as Borrowor'G J?rfnolpol residence
                  within 60 days oftot the tixecution of this S~ty h!Jltrumcnt and shall oontinue to ooaupy the Property as
                  Borrowcr'lf principal rcsid=.ce f9r at le11St one year after the dote of occupancy, unless I.coder otherwise
                   agrees in writ.Ins, which consent shall not be unreasonably withheld. or u:ale•s ex.tenwiti.ng oitownctlUlces exist
                  which oro beyond Bono'ww'a coutrol.
                          7. Preservation, Maintenance and Protection ot the Property; IDBpecdona. Bo1T0wer shall not
                   destr0y, do.mago or i.mpnlr the Property, allow the Property to deteriorate or commit wcstc on tho Property.
                  Whether or JlOt Borrowor is rosiding ill the Property, ;Borrower shall mafJltafn tile Property ill older to provcnt
                   tho Property from deteriorating or dcc;rcaaing mvaluo duo to ito couditiou. Uole:io it io doteiml.1111d pw.;uont to
                  Section S that repair or rcstorutioo is not econ¢mlcally feasible, Borrower ahall promptly repuir the P.roperty if
                  damaged t.o avoid further deterioration or damage. If .i.nsuranca or condemnation proceed& are paid in
                  connection wlth dun1eo to, o.r tho taking o~ the Property, Borrower abllll be responsible i-or mpatrUlg or
                  restoring tbo Property oJ>br. u+onder hC9 released proceed£ for cuch pwposea. Le!ldcr mlay·diabune proceeds
                  for the repairs and restoration in a ainglo payment or in A series of progress payments as the work iJl
                  completed. JC tho i.nsunlVce or ooudemnotion proceeds are not sufficient 10 n:pair or restore the l'ropcny,
                  Borrower 18 not relieved o!Bo1TOwt:r'6 obligation fi:>c tho completion of such repair or restoration.
                 ·        Lender O'f Its acent may make reasonable entries upo11 =d inspectiOllS of the Property. If it he.s
                  rce101111blo C41U~o, Lo11dor m11y imipeot tho interior of tho improvements 011 the Property. Lender sholl give
                  Borrower notice at the time of or prior to such lll1 interior inspeotlon 6poGltying such reasonable cauac.



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                                                                                             DOC :ID                       Redacted
                        8 . Borrower's Lo11n AppllCAtfon. Borrower shall be In default It: durinJ?       I   .,_e • t •
                                                                                                                   •   •e   e .,.,i;: •
                                                                                                                           \•    I   •   I   •


                  Bortowor or any pcnio1111 or entities acting ot tho direction 0£ Borrower or with Borrowers knowledge or
                  consent aave matoriallv £also. mlsleadinl?, or inaccurate information or statements to Lender (or failed to
                  Bortowcr or any pcn10DA o r cntiaca iiotina At tho dlrcolioll o( Bon"OWor or wich Bon-owora knowledge or
                  coo.se.nt aave J.Wlterially false, mlsleadlng. or i.nnccurato l.nfunnation or statements to Lender (or failed to
                  provido Lendor with material iz>fomir.tion) in connection with the LoWJ. Matenal represe.ntado.ns include, but
                  aro not llmlted to, re.PreSeDtatlo.ns concer.nlng Borrower's occupancy of the Propcrfy as Bormwcts principol
                  to5idoncc.
                          9.·Protectfon of Lender'& Intereat in the Property a11d Jtighta Under thb Stturit:y lnsh'ument- lf(o)
                  BoJTOWor folb to per:fonn the covenants ond ogrcementa contained In thl& Security lnatrumcnt, (b) then:: i8 u
                   logal proooed.iJlg that might eigxiitioontly effect Le.ndets interest in tba Property and/or rights under this
                   Security Jnetrumcnt (such aa a proceeding in bank'.ruptcy, proba~ tor condomnotion or. for!elnite, for
                   enforccme~t of a lien which .may attain priority ovc~ Ihle Security Imtrwnont or to enforce lawa or
                  rogutatton11}, or (c) Borrower haa abandoned the Property, then Lender mAY do ond pay for whatever is
                  -reasonable or approprlot" to protoot Le.ndct'6 interest in the Prop"1'ty al!d rigbtl': under this Security Irmtrwncnt.
                   tncludlbg protecting and/or a&ae68inc tho vatuc of the Property, 8Jld securing and/or repoithls tho Pteporty.
                  Lonclo.'o ootl.ono oo.n 1noludo, but oro not lbnlted to: (o) pAyiog any sume euurcd by a lien which has p rlotily
                  over thi11 Security Instrument; (b) appearing in court; C1Dd (o) paying reoso.11.11ble ottomeys' fcos to protect its
                   interest in tho P1"0pe.rty and/or rights under lb.is Security Instrument, including Its secured position in a
                   b11nkru_ptcy proceeding. Suuring the Property includes, but .i& not limited to, e.ntorllla tho Property to make
                  copoi.r.s, choogo loo:ke, repleoe or board up doors and wi11dow11, drain water from p ipce, eliminate b1&ildi.ng or
                   other code vinlnliOl}K o r dsngl<tOus conditio.as, and hove utilities turn"d on or off. AJtbough Lender may tAlcc
                  action undor this Section 9, Lender does not hiwc to do so attd Is net under BllY duty or obligntion to do so. It
                  is agreed that Lender inours no liability for not toking a.ny or all actions authorized undct this Section 9.
                          Ally amouul8 disbursed by Lender undc:r th.iii Section 9 stw.11beoome11ddllional debt oCBorrowu secured
                   by th.ls Sll(ludty wtnunent. These amouats shall beat JntieNSt At die Note rate &om the date of diJsburacmmit
                  and shAll bo payable, with such intete$f, upon notice from Londcr to Borrower requcetine payment.
                          lfthis Security In11trument is on a lca8obold, Bom>wcr llhml oo.mply with oil t110 provlsion.s of tho leaso.
                  U Borrower ooqutros 1"oo tltlo to tho Property, lhe leasehold and the n:o dllc shall not mcrao unless Lender
                  osre°' to the merger in writing.
                          10. Mort~ai:o Insurance. If Lender required MortiiaK\' WW'IUICO os n condition of uWd.og tho U>an,
                  Borrowor shall pay tho promiu111S rcqoiTcd to maintain the Mortgage Insura.nco in efl'CGt. ~ for any rcBSon, lhe
                  Mongage IJl.slll1lllCC covcrago required by Leadec c~ecs to bo avaUablo from tho mortgage insurer th11t
                  provlowly pl'O'Vidod auch insun111co and Bonow"° wee rc:quir<:d t o make &cpllnltx:ly dcsignab:d payment&
                  toward tho prcmJuma for Mortaaae Wlll'llllC6, Borrower shall pay tho premium11 required to obtain coverage
                  substa.ntially equivalent to tb..e Mortgage Insurance prcvioW1ly in effect, at a cost subslQ.Qliolly cqulvolont to the
                  cost to Borrower of the M ongogc Insurance previously in. e.lfoot• fiom an aJtomate moJt8agc insurer eolectcd
                  by Lender. rt aub5tantlAlly equivalent Mortgage lnBun.ncc coverage 14 .not avlllloble, BoJTOwei- s)lnll continue
                  to pay to Lender lhc nmount of the sepcuutoly desigt>ated payments that wore due when t.be !neuranee coverage
                  ee.'lsed' to bo Jn effect. Lender wm accept, tLo;e and retain these pa:ymentu ns a non-Je!u.ndable loss reserve in
                  lieu of Mortgugo lnsulUlloo. Such loss roseIVe shall bo non-rofimdnble, notwithstanding the fuot thut the Loon
                  Is ultlmatoly pnid in full, and Lender shall not be required to pay Borrower 4nY interest or earnidSS on 6\lch
                  lo01v rc80CVO. Landor onn .no loneer roqul.ro lose resorve payments 11' Mont;ogo I.na\lftncc: oove.rogc (.i.o. Ibo
                  amount a.nd for tho period tbnt LcndCC' n:quiNi;) provided by any iutluror selected by Lender agajn bccomc.s
                  available, is obtained, and Lender requll'Cll &eparately designated paymenlll toward the premiums for Mortgage
                  Insurance. If Lender required Mortgoae .Insuranoo os o oondition of m111dllg the Loon And Borrower was
                  requlted to mako separately designated pa)'IDCDt.<t towczd tho prcmiwo.s foe Mortgngo wumnoo, Borrower
                  sb'llll poy tl1" prem.iwns required to n1aintain Mortgage ln6Wllnec in effect. or to provide a non-refundoblc· loss
                  .reserve, until Lendei'o requirement for Mortgage Insurance ends ill aooordQllo" with ony wrltton ogteement
                  between Borrowa iwd Lender provldhlg fur such termination ()r until tennloat!on ls required by Applicable
                  Law. Nothing in thiK Section JG nfi'ccta Bo1T0wci's obligation to pay .lnte.rNt ot tho .roto provided fn the Note.
                          Mortanne Tnsutat1ce relmbunes Lender (or Wl.Y cnlit;y that purchases the Noto) for cutAitl lossea it may
                  incur ifBozrowc:r does not repay the Loan as 11gre11d. Borrower is not a party to the: Mortgnao Insurance.
                          Mortgage lnsurem evaluate thciriotal risk on all &uch insuru.n~ 1n force from time to itme, 11nd may enter
                  ioto aK"CCIDOllJ.11 wilh olhor portlci; that ,.w.n, or modJfy' their risk, or rcduc:c lonea. These agrocmeu~ cro on
                  tmTn8 and conditions that 11ro eetisfectory to the monaege lnguror and the otheT 1u1rty (or JUlrt!cs) to these
                  agroemea.18. These ogrocmonts may require the mortgage insurer to DUikc paymc1118 uaws ony source of funds
                  that .tho morteaac iruureT may bAvo available (whlch .moy inoludo i\lnda obtained from Mortgogo Insunm~
                  premiums).
                          ~ o rosult of theso 0~111118, Lender, 11ny pwc)luer of the Noto, nnothcr Uulurer, any ni!nsurer, ADY
                  other entity, or    any otfiliote of any of the foregoing, may teccivt (directly or iDdiRcUy} amounts that dorivo
                  from (or roight bo characteri7ed as) a portion ofBorrowets p11yments for Mortgage Insurance, in exchange for
                  lllwcing or m.odi{ying the mortl;ege i,n15..,-.,1"5 rlsk, or reduciog losac:a. If •uch a.,-e.cmont provl~ that llD
                  affillntc of Lender takes n ahnre of the insurcl& r.lsk in axchanee for a share of tile prcmiul'D.9 paid to the
                  insurar, the 0"'8ngementl11 often termed "captive reinsurance." Further:




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                         (o) Any such agreements will not ttffect the amounw that Borrawor hAs n~eecl to pay f"or Mortgage
                  Insurance, or any other t<irms of the Loon. Such agreements will not increase the amount Borrower will
                  owe for Morfl?nee Insurance. nnd they will not entttla Bc>rrower t.o any refund.
                  Insurunco, or llDY other terJns of the Lo,m. S11ch ogrccmcnts will not iu~ecase the nmount Borrower ,v;u
                  owe for Mortgnge Insurnnce, nnd they will not entitle Borrower t.o any refund.
                          (b) Any such .ugreemenbl will riot affect die rights Borrower hos - if any - with respect to the
                  Mortgage Jn~urance under the Homeowners l"rotectlon Ac:t ot l.9.98·0r any odler l11w. 'l'Jlcisc rJghts mny
                  include the rlpt to receive certain disclosures, to request and obtain cancellation of the Mortgage
                  ID11urance, to have the Mortgage lnsurnncc terminated nutomatic1111y. ancl/or to receive a refund or nny
                  Mortgnge Insurance premiums Olat were unearned at the Ume of such canc:ellaUun or termination.
                          11. Aulgnment of MJscellRnoous: Prococuls; :Forf'clture. All MlscoUanecus Prococds arc hereby
                  ossigucd to ond sh411 be paid to Lender.
                         I f the Property Is damBged, such MiaccllanCQu.s Proceedis shall bo applied to restoration or ropoir of tho
                  Property, if th<> restomtlon or ~pair is economfo11lly :feasible and Lender's eeourity ;,. oot lessened. During "uch
                  repair 1111d restorolion period, Lendor shall have the right to hold i;uch Mlscelloneous Pcoc:oeda Until Lender has
                  bad an opportunity to inspect such Property to ensure tho work has been completed to Lender's satis.Giction.
                  Jlrov.ided thot suoh llispeotio.11 Bhall bo undertaken promptly. Lendor may pay :for the repairs and restoration in
                  a sin,11:lc disbursement or in ca series of progress payments cs the work is completed. Unless an a~ement is
                  made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds; Lender shall
                  not be .required to pay Borrower any interest ot eamingi; on i:uch Miscellaneous Proceeds. If the restoration or
                  repair is not e oouomioully feuuiblo or Lendoi's security would be lessened, tho Miscellaneous Pro<:eeda shall
                  be applied to the sums secured by this Security Instrument, whether or not then due, with .t ho excess. if any,
                 paid to Boaower. Such Miscellaneous Proceeds i:hall b$ applied in the order provided for In Section 2.
                         In the ovo.nt of a total taking, d«itniotio.11. or loss in vulue of tho Property, tho Mi&cellaneous Proceeds
                 shall be applied to the sums accured by lhie Security Ins trument. whether or not then due, with tho excess, if
                  Wl)', paid to Borrowet".
                         In the event of a partiol taking, <,lcstruclion, or loss in value of lhe Property in which tho mir mork.ct volue
                 of the Property lmmedlately before the partial· taking, d~tniedOtt, or loi;s in value it equal to or greater than
                 the amount of the 11Ums accurcd by this Secwity Ins trument immediately bofore the partial taking, destruction,
                 or loss in value, unless Borrower and U!nd~r otherwil;e agree in writing, the sums secnind by this Security
                 Instrumc.nt shall be reduced by tho o.mou&it o f tho Miscollancou$ Prooceds multiplied by tho following fraction.;
                 (a) the total amount of the INl'llB secured immediately before the pllrlial coking. destruction, or lose in value
                 divided by (b) the fulr market value of tho Property immediately before the partial taking, dc:stniction.. or loss
                 ti. value. /'uly balanoo shall bo paid to Borrower.
                         In the event of a purtiol Uiking, destruotio.n, or loss in value of the Propetfy in whleb tbc f;afr market value
                 of the Property immediately. before tho partial taking, destruction. or lot1a in value is less than the amount of
                 1ho li\UD~ GOowed fmmeiliatoly boforo lllo partial taldng, i;teaau,Uon, or loJa iA vlll\lc, ~"'~ Borrower ond
                 Lender otherwise agree in wriliug, the Miscellaneous Proceeds sball be Applied to the eums secured by this
                 Security Instnlment whether or not the sums arc thcn due.
                         1£ the Property I& abandoned by Borrower, or lf, afler notice by Lender to Borrower Chat tho Opposing
                 Party (as defined in tho next sontcnCQ) offcni to mllkc u11. owcu:d to settle o oloi.m for damages, Borrcwor :fails to
                 respond to Lender within 30 days a&r the date the notice Is given, Lender 18 authorized to collect and apply
                 the Miscellaneollll PJ:Qceeda either to resto.nUion or iepo.ir of tile Propeny or to the cums cecured by thi11
                 Security Instrwn=t. whether or not then due. "Opposing P&rl)'" m = tho lhhd po.rty thot owes Borrowor
                 Mlscellnneous Proceeds or the porty against whom Borrower hus a right of action in rcgurd to Miscellaneous
                 Proceeds.                                       ·
                         BorTOwcr shall be· in dcfaul! if uny aclion or prooceding, Whelher olvil· or criminal, Is bogun ihat, fn
                 Lender's judgment, could result in £oxfeiture of the Property or other material impairment of Lender's interest
                 in tho PJ:Qpcrty or rights under this Security Instrument. :Sorrower eon cure such a default and, if acceleration
                 has occurmd, reinstate as provided In Section 19, by causing tho action or p.roceedl.ug to be dlsmissed with a
                 1'11.ing that. in U!i.o.der's judgme.o.t,, preoludes forfoituro o:f the Property or other material impninnent 0£Lc11dc.r's
                 int.crc11t in the Property or rights .under this Security Instrument. The proceeds of any award or claim for
                 d11mogos th~t are attributable to the impairment of Leader's intcl'Cst in thi:: Property nro hereby esslgnod· and
                 shall be poid to Le.uder.
                       All Mi11cclloooous Proceeds that are Jlot applied to restoradon or npaiT of the Property shall be applied in
                 the order provided for in Scotion 2.
                       12. Borrower Not :Released; Forbearwu;e By Lench:r Not " Wuivcr, E>tten&Jon of jhe tlmo for
                 payment or modification of amortization of the swns accurcd by this Security !D11trumont &nmted by Londcr to
                 Bozrowct or 6ey' Sucee!l4ot in llltorost of Botrower shall not operate to release the liability of Borrower or any
                 successors in Interest of BontJwcr. Lender shall uot bo required to oommenco proceedfnge agal.nAt any
                 Successor in lnterei;t of Borrower or to refuse to extend time for pa)ltnent or 6tl1efWl!6 modify omortltotlon of
                 the sLUDs scouted by this Security Instrument by reason of any demand madi:: by the original Born>wer or WlY
                 Successors in Interc.qt of Borrower. Any furbemnnce by Lender in excrclslllg any right or remedy including,
                 without limitation, under'.: acceptance of paymenta from third persons, entities or SuccessoJ'S in Interest o:f
                 Borrower or in amounte less tllan the amount then due, shall not be a wa1ver of or pl'l:eludc the: c:xcroiao of ony
                 right or remedy.




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                       13. Joint and Severnl Liability; Co-signers; Successors and A11lgna Boun • orrower covcnm im
                 agices that 8orrowcr'a obUgatiom and liability shall be joint una soverel. However, any Bonower who
                 CO-$ig.>i; Ihle Security ln$tr'UU)e>1t but does not execute tho Note (a "co-signer''}: (a) la co-siga..lzlg this Security
                 agree5 that Borrower's obligations and liability shall be joint und several. However, any .aonowcr who
                 co -signs th!& Security Instrument but does not execute tho Note (a "eo-sfgncr''): (a) ia eo-sigq.ID,g this Security
                 luslrwJloAL only lo mortgugo, gxaot alld wnvey tho co-siguOI'& i.iitarost in tho Property Wlder tho wms of this
                 Seewity lnotrumcnt; (b) is not pen:onally oblicotcd to PllY the aums secured by thie Securily Inetrurneut; A.lld
                 (o) og.rc03 that Lender ood any other Borrower oan •l:l"Co to extend, modify, forbear or make any
                 accommodatioD11 with, regard to the fems of this Sccwily Instnimcot or tlto Note without tho co-slenoi's
                 COJl.60Dt.
                       Subject to the proviuiomi of Section 18, any Sueoeasor in Interest of Borrower who acrumee BorroweJ's:
                 obligations und11r this Security Instrument in writing, 1111d is approved by Lemler, shllll obiain oil ofBOJl'owor's
                 rights ood beno.fits uuc!or this Seourlty Instrument. Boaowor shall not be released :from Borrowci's oblig11tion11
                 and liabiliLy under thi" Security Instrument unless Lender ogrees to such tol<:llso in writing. Tho covenants and
                 "ereemonts of thJs Security Jn11trument sh:ill bind (except as provided in Section 20) ond benefit tho sucoosson;
                 and asslgna 0£1.endor.
                          14. Loan Cbarge11. Lender may ohnrgo Bonvwor fees for !llervioos porfi:>I'Ulod in connection with
                 Borrowol's dotllulc, for tho purpose of protecting Lcndcl'a interest iD Ibo Propcrt)' Qlld rightS undei- this
                 Security lilstnuDc.ot, including, but .not limited to, attomeYR' f'ees, ,property lnepcctfon and . vsluation fees. In
                 n:gard to any other fees, the ab:icnco of oxprcss autllorlty in Ulla Security Instrument to charge n specffic foo to
                 Borrowor shall not be conetmed as a 11rohlbltlon. on the charging of such fee. Lender muy not ohargc !CCII lhot
                 ....,. ~prc;uly prohibited by this Security lnstnuneiit or by Appltoab!o Law.
                         If the Loon 11 mbject to a low which scrn maximum lonn chugcg, and that Jaw iu finally i.nt.el}>reted ro
                 !hat tho interest or othe-r loan cbargca collected or to be collected In connection with the Loan exceed the
                 pemiitted limits, then: (o) 1111y s11ch lom cbnrge shall bo 1-educed by tho amount necessary tlO reduce the charge
                 to tho pennhtcd limit; 8Jld (b) any &ums already collected from Bonower whioh exceedtsd pmmiued liuilts will
                 be refunded to Borrower. Lendor may chooao to make thft refb.nd by mducinc tho principnl owed under the
                 NQ!c or by making a direct payment to Borrower. If' n refund reduces priooipal, tho reduction wilt be ~ a&
                 a partial prepayment without any prepayment chqe (whether or not a prepoymeut oWirgo i8 pzovided for
                 widor tho Noto). Borrowci's accept1111cc of any such rofund made by dlroct payment 10 Borrow" will
                 conatitute 11 waiver of QD)I rlght of action Borrower might have arisi.og out of such overcharge.
                          15. Nodc:ea. All noticea given by Borrower or Lender in connection with thia Seourlty Instrument must
                 be In writing. Any oodee to Borrower in. connection with this Security Instrument shall be deemed lo have
                 been given to Borrower whc.n n:wilcd by first clan .muil or whon 11c 1Ually dolivorcd to Bonowc~e ootico
                 addrc.&s if i;ent by other means. Notice to any one Borrower sbnll oonatitute notice to all Borrowcn: unlcu
                 AppllC4ble Lllw oitprenly requires othenvlse. The nodce addrus shall be the Property Address uuless
                 Borrower ha& dcsii;1u1tcd 11 s"bstitutc 11.oeic;c; 11a~$ by JiQtico to Lendor. Bom>wor shall promptly notify
                 Landor o f' DotTOwor'a chanso of addtua. 1£ Lendor epccific.:i a proccdun: for repot'IUlg Bonoweix'e cbnngo of
                 addn.sa, then BoJ'TOwer aball only repDn a chanee of addrei:s through' thst specified procedure. Thero may bo
                 only one desiguatA:d notice address under this Security Iwt.rumOllt et any ooo timo. Any notice to Lender shall
                 be glvcn by delivering it or by mailing it by first class mail to Lcodcr'a addrc;,a at.Dtcd hercl.n·unless L=dor lies
                 de.signaled mother address by notice to Borrower. Any notice ln connection with this Security Instrument
                 ~all not be deemed to have been 11ivcn to Leader until ru:tuoUy received by Lender. Tf any notfee required by
                 tblt Security Instrument is also requtred under Appllc:ablc Law, tho AJ>plicablo Low 1eq11irement will i;alis(y
                 the corresponding requireme11t undar thl$ Security Instrument
                       16. GovcrniDg Law1 Scvc..abllity; Rule• of Construction. nu. Sooutity lnatrument shnll be covcmcd
                 by federal law and the Jaw of the Jurisdiction in whioh tho Property iu looatod. All rights oud obligations
                 eont.ni.ned in thls Security Instrument aro sabject to any rcquircmontil and limit.ation11 of Applicable Lnw.
                 Applicable Law m ight explicitly or implicitly ollow the pw-ties to ogreo by cootraot or it might be allont, but
                 cuoh dlouoo ch.all .a.ot b• consuued as a prohibition agalnat agn:cmcnt by contnot In the event that lllly
                 proviaion or clause of this Secwity Instrument or tho Noto con11.leta with Applicable Law, 11Uch conflict shaU
                 not affect other pmvl11ione    or this Security wtniment or th"' Noto        whioh can be givC11 effoot without the
                 con.flictiJlg provision.
                      As wicd in this Security Instrument: (n) woTdJ; of tha rn~ullnc ncndC1' Rholl mean ond include
                 C<m'OSponding neute-r words or words of t)lc Ceminino gender; (b) words in the slngula-r shall mean and include
                 tho plum! a nd vice vel'$A; 1111d (c) the word "may" givC3 sole djscrction without ony obligation to tako any
                 aoslon.
                      17. Borrower's Copy. Bom:>worshnll be given OJ:tO copy.of tho Note and of'thlc Security Inscrument.
                       18. Trmsrer of the Property or a Benetlclal IDterest in Borrower. As used 1u this Section 18,
                 "Interest in ihe fropcrty'' means ear legal or b=oficlal intore5t in the Property, inoluding, but 11ot limi!O(l to.
                 thoae bcncficial inlcrc31u tnlnllf'c:rrcd in o bond for deed, oolitroot 1ior docd, iNt4llmcnt aaleo contract or oeorow
                 ei:reement. the inteot of which la the transfer of title by Borrower ata fUlwo duLc to a puiobcsor.
                       rf all or &f\Y part of the Property or ony Interest in the Property Is aold or transferred (or if Borrower ill aot
                 a natural pe111on and a beneficial mterest in Boz:rowc:r ill :;old or ll'llllSfen°ed) without Lenclor'e prior written
                 OOlll:Ont, Lolldu may ~O<lUlrc immediate pay.nent In MJ. of all ll'lllJU ¥00\U'Cd b)' lh.ia S.. C>Unt)' Jrtsll'Utt.tOnt.
                 However. this option shall not bo exercised by Lender ifsuch cxerci&c ls prohibited by Applicable Law.



                 ~ .eA(IN) (0!104)        CHI. (114100)                 Paaee of11                                       Form 3016 1/01
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                           I f Lender exerois~s this option, Lender shall give Borrower notice of acceleration.. The notice sball
                     provide 11 period of not lciu~ th11n 30 days from the date the notice is given in aoco1'dance with Section lS
                      within which Borrower must D8Y all sums secured by this Security InstrumCtlt. If Borrow.er fails to pay these
                     provide " period of not l<>s11 than 30 ®ys from tho dato tho nouco is give.a in aoco.-dacco with Soction 15
                      within which Borrower must pay all sums secured by this Security Instrument. If Borrow.er fails to pay these
                      sums prior to tho 0Jq1irntion of th.is period, Lender may invoke any remedies permitted by this Security
                      InsbUmcnt without further n<?tice or demand on Borrower.
                             19. Borrowet·'s RJght to Reinstate After Aculuntfon. lfBo.o:owcr meets certain conditions, Borrower
                      abnll have the right to have enforcement of th.i" Securil)f Inst:rumont disoontl.nued at any time prior to the
                      earliest o~ (a) five days befoni sale of the Property pursuant to Section 22 of this Security Instrument; (b) such
                      other period as Applicable Law might specify for lhe tcnn.i..aation o£Bon:owcr's right to roinstote; or (o) entcy
                      of a judgment enforcing this Security Inab'umcnt. Those conditions arc that Bo1TOwer. (is) pays Lcndc.r all
                      Sl.UllS whloh then would be duo Wlder·1hJs Security Instrument and the Note as Jf no accelentlon had occurred;
                     (b) ~s any default of ony other covenunts or n~ents; (o) pnys all expenses 'iucurrod in enforcing this
                      Security Instrument, Including, but not limited to, reasonable attomoys' fees, property .inspection =d voluation
                     fe.e s, and other fees Jnou.rred tor the putpose of protecting Lender's interest in the J>roperty and r1j;hta under
                      this Security ~l.rwncnt; Wld (d) mkc,, s11oh "otion M Louder m"y rooso.uobly r«J.uiro to essutt> that Lo11det'e
                     interest in the Property and ridits under tb.i.& Security Instrument, and Borrower's obligut.ion to pay the sums
                     6eoured by this Socurity Instrument, shall continue unchanged. Lender may require that Borrower pay such
                     rcinlitote.ment sums and Wtpenses in one or more of the following forms, as seleoted by Lendor: (a) c.-.sh; (b)
                     money order; (c) certified check, bank check, tn:asurcl's check or cashier's check, provided oey $1.lOh oheck is
                     drawn 11po!l an institution whoso deposits arc Insured by a fcdenll .agency, instrumentality or entity; or (d)
                     Electronic Fu11ds 'l'nmsfer. Upon ieinslntement by Boirow~r. this Security fustrwne.o.t and obligations secured
                     hereby shall remain fully effective as If no acceleration had occurred. However, this right to n:instate shall not
                     apply i.D tho cose ofoccele.mdon undor Section 18.
                             20. Sale of Note; Change of Loau Servicer; Notice of Grievance. Tho Note or o partial interest in the
                     Note (togclher with this Security Instrument) can be sold one or more. times without prior notice to Borrower.
                     A sale might result in a change in iho eiitlty (kilown as the "Loan Servicer") that collect& Periodic Payments
                     dlle 1mder me No1e and Ibis Socwi\y Insawnent and performs other mortgago loaa. servieln& obligations under
                     the Note, th.is Security Instrument, and Applioable Law. There nlso might be one or more changes of the Loan
                     Servicer unrelated to a salo of tho Noto. If thore is a ohan2e of tho Loan Servicer. Borrower will be civen
                     wriUt.-n notice of the change which will stnte the 111U110 (Uld address of ihe new Loan Servicer, the address to
                     which payments should be made and any other information RESPA requires in connection with a notice of
                     tranllo,r of sorvloing. If' tho Noto i.s sold end thocoafter tho Loan 18 ~ccd by a Loan Servicer other then the
                     purchnser of the Note, the mortgage loan servioins obligations to Borrower will remain with the Loan. Servloer
                     or bet mn.stOn'ed co a 61.lccessor Loan Servicer and at'tl not assumed by the Note purchaser unlcse otherwise
                     provided by lho NoU; pun;hB:J~r.
                            Ncichcr Borrower nor Lender may commence. join, or be j9ined to llllY judioiol action (as either an
                     l11divldual Hfisant or the member of a class) that arises from the other party's actions pursuant to this Security
                     Instrument or that alleges that the other pany has bre:1ched any provision of, or any duty owed by reason ot:
                     this Securlty Instrument, until such Borrower or Lender h118 notified the other pnrty (with suoh notice g.lvcn in
                     compllRnce with the requirements of' Seetton t.S) of such alleged breach and aftbrdccl the other party hereto o
                     xuwonable period o&-r ihe $living of Sllch notioo to tolco corrvctivo cotion. 1£' Appli<>ablo Law pl'ovldeG 11 time
                     period which must eltipse betfore cortain ection can be taken, that time period will be deemed to be :reason11blc
                     for puiposc:s of this pllrOgrnph. The nodo& of accelcrntion and opportunity to cure given to Borrower pursuant
                     to Section 22 and the notice of acceleration given to Borrower plltlluant to Section 18 shall be deemed to
                     satisfy the .ootico and opportunity to take corrective action provisiohs of this Sect.Ion 20.
                            21. Hazardous Substouc:c11. As used in this Seotiou 21: (a) "H11.2ardous Substances" are those substaJ:1ccs
                     dcfulcd as toxic or bazardo1,1s substancce. pollutants, or waste:! by EnvfroDmontal Law 11Dd che followiug
                     substanoes: gasoline, kerosene, olher ftammablo or toxic petroleum products, toxic pesticides ond herbioide11.
                     vola\ilo 11olvcu~ mawri11l11 9011.uWiUig ~\>cstos or fonnaldobydo, and radloactJvo matcriale; (b)
                     "Bnvlr611mcntal Law" mean.~ f'cdeml la'IAN: and lawa of the juri1<diction where the Property is located that reloto
                     to health, &ofoty or envirow:n.ontol protection; (c) "Environmental Cleanup" include11 any response action,
                     ~medilll octio.o, or removal notion, os defined in Enviromneutal Law; and (d) an "Enviromnental Condition"
                     means a ,.:ondition th11t can cause, contribute to, or othcrwiso trigger an Envirowncntal Cleanup.
                            Borrower &hall not cause o't permit the presence, use, disposal, storage, or mle11.110 of nny Hnzardous
                     SubstnnoelJ, or threaten to release 011y Hazardous Substances, on or in the Property. Borrower shall not do. nor
                     allow anyone:: ohse to do, imything affecting tho Prop011)' (a) thot iii in. vfolnt:lon of any Environmental Low, (b)
                     which creates an Environmental Condition, or (c) which, due to the presence, uso, or roloose of a Haz11rdous
                     Substane&, creRtec a condltlou. that adver11ely affects the value of the Property. The precedi.Dg two wcntences
                     shiill not 11pply to tho pxesenoe, uso, or storage on the :Property of &mall quantities of' Hazardous SubstanCCll
                     that arc generally recognized to be appropriate to normal re!lidentiol uses aod to maintewwce of the Property
                     (inclllding, but not llto..ltod to, hazardous l!illbstanccs in consumer products).




                     CSl!t-eA(IN) (0804}     CHL (04108}                  ~090111                                        Form 3015 1/01
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                         Bonowcr shall promptly .Rive Lender written notice of (a) any invqtigaoon,

                                                                                                         -
                  -other action by any covc:rmncntal ar regulatory agency or prlwte party involving the· Property 8Ild any
                   Hozardouc Substanco or Snvirownental Law ofwl1lch B orrower h11s aotulll kDowledJ!:o. (b) any BnVironmental
                  -other action by any govemmenc.al ar regulatory agency or priwto party involvioc the- Propcny and ADY
                   Hauu'doua Subst11uco or £oviro.wnootal Lew of which B orrower bas 11otu11l knowledge, (b) any Environmental
                   Coodilion, inoluding but not limited to, ony spilling, JcWdng, diachaQlc, rclcoac or threat of ~l= of cny
                   aazu,!ows Subi;tance , and (c) any condition caused b y the prei;ence, use or relcai;e of a Hazardous Substance
                   wWch advonoly affects th& valua of Iha Pt0parly. I£ Borrower loams, or is notified by any &ovemmental or
                   regulatory &l&thority, or ony private party, that any removal or othc:r remediation of UQY Hazardous Subst4.nce
                   afrcetiJ1.g the Propeny le neeosgary, Dorrower shall pnnnptly take all noeeaaary remedial actf6nR i11 accorda!lce
                   with Eavironmcntol Lnw. N othing herein 1;bn11 c~ato llllY obligation on Lender for an I!nviro.DJnental Clea11up.
                        NON-UNIPORM COVENANTS. Bouowor Cll1d Lendat fUrthe.r oovoooat t1r>d ngrco os fOllowa:
                        ii. ~cclcration; llcmcdics. Lender shall give noUcc to Borrower prior to ucelemtiou Collowi.ng
                  Borrower's breneh or any covenant or agreement tn this ~ecurt~ InstrwneDt (but not prior to
                  11ccclcrnt.1on wider Sect.Ion 18 uo!css Applicable Lnw provides oCJtcrwlse). The notice shnU specify: (a)
                  the default; (b) the aclfon required to c ure the defauJt; (c) n date, not Jc11S than 30 doys from the date U1c
                  notice b given to Borrower. by which the deCoult must be cured; '1ld (d) that fallure ..to cure tho detnult
                  on or before lbc dutc 1pcc1ilcd la the nut.Ice muy re11ult 1A oceolcrot.1011 or t.be awns aecurcd by thJs
                  Security In1tru.ment. foreclosure by JudJelal proceeding aod 1mle ur thu Property. Tbc notice slmll
                  f\1rtber inform Borrower or the right to relmtt\te after neeeleraUon and the right to assert In the
                  fol'cclosmc procecdlnC Ule nonexistence of a defa'lllt or ony other dcfCD11c of Borrower to nccd.crntfon
                  and foreclo1u.re. U the default Is not cund on or befure tho elate speclilcd 1n the noilcc. Lender at lts
                  option m ny require immediate payment in fnll of nJJ sums secured by th11 Security Instrument without
                  further demand and may foreclose this Security Instrument by judicial proccccllng. Lender ehaU be
                  entltlccl to col1cet All <0xpenaes fncurrccl In pursuing the rcmccl.lu pro~ded ln &JIJ• Scccton 22. h1cJudl.llg, ·
                  but not li.o:littd to. ~aonable a ttorneys' fees ond costs of title evidepco.
                        23. llclcose. Upoo payment of all swns se o11red by this Scol&rity Instrument, Le.odor shall reloaso this
                  Sccwity InatrumcDL Lender may charge B orrower a fee for n:kaal.a.g cJWi Security lnaCrument, but only it lho
                  fe11 is paid to a .third p arty for &el"'lces rendered and the charging of the fee ie p11nnltt!d under Applicable Law.
                         24. Wolvc.r ofVaJuntioo tmd Apprniscmcnt. BorroW1ll' waives oil right of valuation and opprnl6ooieot.

                       BY SIGNING BBLOW, Bo1T0wer accepts and auees to the torma and coventu1ts contained in tbJs
                  Scc11rity Ina1r11mo11t CU1d in o.ny Rider executed by Borrower and recorded with it.




                                                                 - - - - - -- -- - - - - - - - - - - ( S e al)
                                                                                                                               · Borrower


                                                                 ------------------CSClll)
                                                                                                                               •'BotroW CT




                                                                 - - - - - - - -- - - - - -- - - - - --{Soal)
                                                                                                                               .-    .......




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                  STATE OF ~IANA,                                                                 I   111




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                  torcgolng ln11tnun=t.
                       WlTNBSS my hand and official seal.

                  My Commission Exp.lrc:s:    f;}""V--v[( o




                  Thil inslrllmeot WM prcplU'ed by:
                  NANCY MBENTB
                  AMERJ:CA •S WHOLll:SALli LBNDBR
                  800 BAST 96TH STREBT SUITE 150, INDIANAPOu•s, iN                    46~40




                  Cl ·OA(ll't)   (0004)   CHL(04fOG)             Pt9011 9'11                                Fonn :J01S 'l/01
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                                            EXIIlBIT A - LEGAL DESCRIPTION

         Lot Number Thirty-four (34) in Shearer's Addition to the City ofHuntington, Indiana.




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                                                                                                            2012003094
                                                                                                          CHERYL A. SCHENKEL
                                                                                                        HUNTINGTON, IN RECORDER
                                                                                                               TX: 25590
                                                                                                        05/04/2012 01:03:29PM
                                                                                                                           $ 14.00

R ecord ing Requested By:
Bank of America
Prepared l3y: Bani< of America
800-444-4302
When recorded mail to:
CoreLogic
450 E. Boundary St.

      ..
Attn: Release Dept.


   Redacted
 Property Address:

 . . ..
 l541 Snbine St
                    ~   ..   50-2432
 Redacted                         .512 112012
                                                      Redacted                       Rec:ord el"s use
                                                                                          MERS Phone#: 888-679-6377
                                          ASSIGNMENT OF MORTGAGE
For Value R ece.ived, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, JNC., AS NOMINEE FOR
AMERICA'S WHOLESALE LENDER, the holder of a Mo1tgage (herein "Assignor") whose address ls 1901 E
Voorhees Street, Suite C, Danville, 1L 61834 does hereby grant, sell, assign, transfer and convey unto BANK OF
AMERICA, N.A., SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP FKA
COUNTRYWIDE HOME LOANS SERVICING, LP whose address is 13150 WORLD GATE DR.,
HERNDON, VA 20170                                                                        .
all beneficial interest under that certain Mortgage described be low together with the note(s) and obligations there in
described und the money due and to become due thereon with interest and a ll rights accrued or to accrue under said
M9rtgage.
 Original Lender:         MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS
                          NOMINEE FOR AMERICA'S WHOLESALE LENDER
Borrower(s):              MANDY M JONES
Date e>f Mortgage:        12/22/2006
01·jginal Loan Amount:    $40,000.00
Recorded l.u Hnntiugton County, IN on: 12/27/ 2006, book NIA, page NIA and instrument number 2006001529
Property Legal Description: R efer to legal description on original Jnortgage.
I AFFIRM, UNDER THE PENAL TffiS FOR PER.JURY, THAT I HAVE TAKEN REASONABLE CARE
TO REDACT EACH SOCIAL SECURITY NUMBER IN THIS DOCUMENT, UNLESS REQUIRED BY
~~                                                                        .
IN WITNESS WHEREOF, the undersigned has caused this Assignment of Mortgage to be executed on
,..HAY 'l 4· 2012
                                                       MORTGAGE ELECTRONIC REGISTRATION
                                                       SYSTEMS, INC., AS NOMINEE FOR AMERICA'S
                                                       WHOLESALE LENDER



                                                                Assistant Secretary




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                    State of C a lifo rnia
                    County ofVen tu ra

                    On     MAY ? 4 2012 before me,                JovidaAlvarez Diaz                     Notary Public, p ersonally
                    appeared                   Mercedes J u di!la           . w ho proved. to me on the basis of satisfactory evidence to be
                    the pe1•son(s) whose.name(s) is/are subscribed to the within instrument ond nclcnowledged to ,me th at •hc/she/they
                    executed the same in hls/her/their a uthorized capacity(ies), and that by h is/her/their signature(s) on the instrument
                    the person(s), or the entity upoh behalf of w hich the person(s) acted, executed the instrnment.

                    I cel' lify u u de1· P E NALTY OF PER JURY u nd er the laws of the State of C a lifornia that the foregoing
                    p a rngra p h Is t ru e an d co rre ct..
                                                                                                                JOVIOA ALVAREZ DIAZ
                    WITNESS my hand and official seal.                                                         Commlsston # .1677678
                                                                                                              f'lo1Dry Pubflc - Callfornla
                                                                                                                  Los Angofes County
                                                                                                           My Comm. Ex.pl(OQ Jan 20. 2014

                    N ot
                    My




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                                                                                                           2013003428
                                                                                                           CHERYL A. SCHENKEL
                                                                                                         HUHTit«ITON, INRECORDER
                                                                                                                TX: 32151
                                                                                                         06/17/2013 11 :46 :42AH
                                                                                                                              $ 14.00



Recording Requested By:
Bank or America, N.A.
Prepared By: Marcus Jones

When recorded mail to:                                                                                                       'f .••.
Natioutar Mortgage, t.,t.,C
3SO Highland Drive
Alltnlion: Mouic
                    I .




Redacted
6n812013
Property Address:
1541 Snbine St




For Value Received, Bank or America, N.A., the holder of a Mortgage (herein "Assignor") whose address is 1800
TAPO CAN YON ROAD, SIMI VALLEY, CA 9J06J does herd>y grant, sell, assign, transfer and convey unto
NATIONSTAR MORTGAGE, LLC whose address"is 350 Hl.CHLAN D DRIVE, LEWISVILLE, TX 75067 all
beneficial in1eres1 under that certain Mortgage described below together with the no1e(s) and obligations therein
described and the money due and to become due thereon with interest and all rights aCCtUed or to accrue under said
Mortgage.                          ·
Original Lender:           MORTGAGE ELECTRONIC REG ISTRATION S YSTEMS, INC.,AS
                           NOMI NEE FOR AMERICA'S WHOLl:SAt..t LENO ER
Borrower{s):               MANDY M JONES
Date of Mongage:           1212212006
Original Loan Amount: S40,000.00
Recorded in Hunliagton County, IN on: 1212712006, book NIA, page NIA and instrument number 2006007529
Propeny Legal Description: Refer to legal description on original mortgagt.


I AFFI RM, UNDER THE PENALTIES FOR PERJURY, THAT I HAVE TAKEN REASONABt..ECARE
TO REDACT EACH SOCIAL SECURITY NUMBER IN THIS DOCU MENT, UNLESS REQUIRED DY
LAW. ·                                   '-         .
IN WITl:fESS Wl-!EREOF, t~e undersigned has·caused .this Aisignment of Mortgage 10 be executed o~ . : ,· ....
$'.· 'QI' .,13 . .. '."' . . . .1.·       •   : · . .....   ..: ..   • ••   ·.•   •. • •   .. •    ...      ·:·. .    •' "


                                                      · Bank of America, ·N:A. ".
 ...
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 Pl9i)ilrecl by: NANCY t.E.ENTS
                                               B                                                              LOAN j   Redacted
                                                               NOTE



    DECEMBER 22, 2006                                   HUNTINGTON                                            INDIANA
               [Diie]                                         [City)                                             [State)

                                     1541 SABINE STRBET, HUNTINGTON, IN                    46 7~0
                                                            (l'rop:ny Addn:ssj

 1. BORROWER'S PROMISE TO PAY
     In return for a loan that I ltavc received, I promise to pay U.S. S 4 o, ooo. oo                    (this    amount       is   called
 "Principal"). plus interest, to the order of the Lender. The Lender is
 AMERICA'S WHOLESALE LENDER
 l will make all payments under this Note in the fonn of cash, check or money order.
       I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is
 entitled to receive payments under this Note is called tl1c "Note Holder."
 2. CNTEREST
       Interest will be charged on unpaid principal uutil Ille full amount of Principal has bc:en paid. I will pay interest at a yearly
 rate of      7. 500 %.
       The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Se<:tion 6(8)
 of this Note.
 3. PAYMENTS
       (A) Time and Place or Payments
       I will pay principal and interest by making a payment every month.
       I will make my monthly payment on the FIRST                        day of each month beginning oo
   FEBRUARY 01, 2007 . I will make these payments every month until I have paid all of the principal and interest and any
 other charges described below that I may owe under this Note. Each monthly payment will be applied as of its scheduled due
 date and will be applied to interest before Principal. If, 011 JANUARY 01, 203 7               , I still owe amounts under this Note, I
 will poy those omounl$ in full on that dote, which is coiled lhe "Maturity Date."
       l will make my monthly payments at
 P.O. BoK 660694, Dallas, TX 75266-0694
 or at a di1Tcrcnt place if required by the Note Holder.
       (B) Amount of Monthly Pa)•mmts
       My monthly payment will be in the amount of U.S.$ 279 .69
 4. BORROWER'S RIGHT TO PREPAY
       I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
 "Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a
 payment as a Prepayment ifl have not made all the monthly payments due under the No<e.
       I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. Tho Note Holder will use my
 Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my Prepayment
 to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the Principal amount of
 the Note. If l make a panial Prepayment, there will be no changes in the due date or in the amount of my monthly payment
 unless the Note Holder agrees in writing to those cbangc5.
 S. LOAN CHARG ES
       lfo law, wbich applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other
 loan charges collected or 10 be collected in connccrioo with this loan exceed the pennirted limits, then: (a) any such loan charge
 shall be reduced by the amount necessary to reduce the charge to the permined limit; and (b) any sums already collected from
 me which exceeded pennined limits will be refunded to me. The Note Holder may choose 10 make this refund by reducing the
 Principal I owe under chis Nole or by m11kini; a direct paymcnl to me. If 11 n:fund rcduc~ Princ1pol, the reduction will be treated
 os • p0t1inl Prepayment.
 6. BORROWER'S FAILURE TO PAY AS REQUIRED
       (A) Late Charge for Overdue Payments
       If the Note Holder has not received the full amount of any monthly payment by che end of FIFTEEN                        calc:ndar
 day~ aficr the date it is due, I will pay 11 Jato charge 10 the Note Holder. The amount oftheoborgo will be         5. 000 %ofmy
 overdue payment of principal and intcrcsL T will pay this late charge promptly but only once on each late payment.

        (8) DerauJc
        If I do not pay the full amount of each monthly payment on the date it is duo, Twill be in default.

 M ULTISTA TE FIXED RATE NOTE-Single Family-Fannie Mae/Fr9ddte Mac UNIFORM I NSTRUMENT
                                                            Page I of2
 •    ·SN (0207)01   CHL (010/04)(d)          VMP Mortg199 SollM>c>s, Ire. (800)521-723t                                   Form 3200 1/01
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Redacted
Redacted                                                                     Redacted
r
                                          Case 18-10416-reg                     Doc 12-1        Filed 04/27/18              Page 17 of 18
                                                                                                            LOAN    .Redacted
            (C) Notice of Default
          If I am in default, the Note Holder may send me a written notice teUlng me that if I do not pay the overdue amount by a
    certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all
    the interes1 that I owe on that amount. That date must be at least 30 days after the date on wllicb the no1icc is mailed to me or
    delivered by other means.
          (D) No Waiver By Note Holder
          Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described above,
    the Note Holder will still have the right to do so ifl am in default at a later time.
            (E) Payment of Note H older's Costs and Eipenses
            lftbe Note Holder bas required me to pay immediately in full as described above, the Note Holder will have the right to be
    paid back by me for all of its costs and expenses in enforcing this Note 10 the extent not prohibited by applicable law. Those
    expenses include, ~r example, reasonable anomeys' fees.
    7. GIVING OF NOTICES
          Unless applicable law requires a different method, any notice I.hat musl be given to me under lllis Note will be given by
    delivering it or by mailing it by first class mnil to me at the Property Address above or at a different address if I give tho Note
    Holder a notice of my different address.
          Any notice that must be given 10 the Note Holder under this Note will be given by delivering it or by mailing it by first
    class mail 10 the Note Holder at the address stated in Section 3(A) above or at a different address if I am given a notice of that
    different address.
    8. OBLIGAT IONS OF PERSONS UNDER THIS NOTE
          If more than one person sii:ns tl1is Note, each person is fully and personally obligated to keep all of the promises made in
    this Note, including the promise to pay the full amoun1 owed. Any person who is a guarantor, surety or endorser of this Note is
    also obligated 10 do these things. Any person who takes over these obligations, illcluding the obligations of a guarantor, surety
    or endorser of this Note, is also obligated 10 keep all of the promises made in this Note. The Note Holder may enforce itS rights
    under this Note against each person individually or against all of us together. Tiiis means that any one of us may be required to
    pay all of the amounts owed under this Note.
    9. WAIVERS
          I and any other person who bas obligations under lhis Note wa.ive the rights of Presentment and Notice of Dishonor.
    "Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
    right to require the Note Holder 10 give notice to other perrons that amounts due have not been paid.
    10. UNIFORM SECURED NOTE
          This Note is a uniform instrument with !united variations in some jurisdictions. In addition 10 the protections given to the
    Nole Holder under this Note, a Mongage, Deed of Trust, or Security Deed (the "Security lnSlrllment'), dated the same date as
    this Note, protects the Note Holder from possible losses which might result if I do not keep the promises which I make in this
    Note. That Security Instrument de5Cribes how and under what conditions I may be required to make immediate payment in full
    of all amounts I owe under this Nole. Some of those conditions are described as follows:
                  If all or any pan of the Property or any Interest in the Propeny is sold or transferred (or tf Borrower is not
             a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior wrinen
             consent, Lender may require immediate payment in fuU of all sums secured by this Security l.nstrument.
             However, this op11on shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
                  If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide
             a period of not less than 30 days from the date the notice is given in accordance with Section I S within which
             Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay lhese sums prior to the
             expiration of this period, Lender may invoke any remedies pennined by this Security Instrument without further
             notice or demand on Borrower.



    YOU ARB NOT OBLIGATED TO PAY ANY MONEY UNLESS YOU SIGN THIS CONTRACT AND RETURN
    IT TO THE SELLER / LENDER.
                                                                                               -·- -·- ·-:
                                                                                                    ...




                                                                         - - -- - -- - - - - - - - --                           (Seal)
                                                            -Borrower                                                         -Bonower



    - - - -- -- - - - - - - - - ( S e a l )                              - - - - -- - - -- - - - - - - ( S eal)
                                                            -Borrower                                                         - Bonowcr


                                                                                                                 [Sign Original Only}

    Q       ·SN (0207).01   CHL (10/04)                           Page 2 cl 2                                           Form 3200 1/01
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DLGF: Assessed Value                                                                Page 2 of 3
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  name without direction or type. (For example, if the address is
  "123 Main St.", try inputting "123 Main".) You can also try using            C
  part of your last name instead of your full first and last name. If
  you are still unable to access the information, please contact
  the Department’s Data Analysis team at Data@dlgf.in.gov
  (mailto:Data@dlgf.in.gov). Bulk datasets containing countywide
  information may be found on Gateway’s Download Data page
  at https://gateway.ifionline.org/public/download.aspx
  (https://gateway.ifionline.org/public/download.aspx).

   Back to Search

   Parcel Detail

   Parcel                                           350514100247300005
   State Assigned District Number                   005
   Assessment Year                                  2017
   Neighborhood Identifier                          3505535
   Owner                                            Jones, Mandy M
   Property Address                                 1541 SABINE ST
   Property City                                    HUNTINGTON
   Property Zip                                     46750
   Property Class Code                              510
   Legal Description                                014-02473-00 SHEARER
   Owner Address                                    1541 Sabine ST
   Owner City                                       Huntington
   Owner State                                      IN
   Owner Zip                                        46750
   Date Transferred to Owner                        12/27/2006
   Current Assessed Value Total Land                $6,000.00
   Current Assessed Value Total Improvements        $32,500.00
   Assessed Value Total Land and Improvements       $38,500.00
   Appraisal Date                                   1/1/2017 12:00:00 AM




http://www.in.gov/dlgf/4931.htm                                                      3/23/2018
